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                       EXHIBIT F
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                                                                  Steven W. Ray           Micah E. Ticatch
                                                                   Admitted VA DC MD CA    Admitted VA DC CA MD
                                                                  Edward Lee Isler        Alison D. Kewer
                                                                   Admitted VA DC          Admitted VA GA
1945 Old Gallows Road
                                                                  Michelle B. Radcliffe   Amy E. Smith
Suite 650                                                          Admitted VA DC MD       Admitted VA DC GA FL
Tysons Corner
                                                                  Andrea I. O’Brien       Ashley F. Hedge
Vienna, Virginia 22182                                             Admitted VA DC MD       Admitted VA DC MD
703.748.2690                                                      Steven D. Brown         Lindsey A. Strachan
703.748.2695 (fax)                                                 Admitted VA CT FL NC    Admitted VA

1111 East Main Street                                             Lori H. Turner          Ramana R. Briggs
                                                                   Admitted VA DC MD       Admitted VA DC
Suite 1605
Richmond, Virginia 23219                                          Vi D. Nguyen            Whitney E. Nelson
                                                                   Admitted VA DC CA       Admitted VA
804.489.5500                                                                               ______________
804.234.8234 (fax)                                                Jeanne E. Floyd
                                                                   Admitted VA            R. Mark Dare (Ret.)
www.islerdare.com                                                                         Wayne A. Schrader (Ret.)
                                                                                          W. Michael Holm (Ret.)


                                             January 7, 2022

                                FOR SETTLEMENT PURPOSES ONLY

    Via Email (james@gmlaborlaw.com)
    James E. Goodley, Esquire
    Ryan P. McCarthy, Esquire
    Goodley McCarthy LLC
    1650 Market Street, Suite 3600
    Philadelphia, PA 19103
    ryan@gmlaborlaw.com

             Re:     Joyce Larson v. True Select LLC et al.  Civil Action No. 5:21-cv-00077

    Dear James,

             The purpose of this letter is to respond to your email of December 17, 2021 with respect to
    Ms. Larson’s individual claims alleged in the complaint against True Select LLC d/b/a FirstLight
    Homecare (“True Select”) and GuardianLight of Northwestern VA Inc. d/b/a FirstLight Homecare
    (“GuardianLight”) (collectively, “Companies”). As laid out below, a resolution to this matter
    would be best for all parties involved. Accordingly, we believe that Ms. Larson’s claims are ripe
    for settlement based on the modest amount of any potential damages and the comparatively large
    amount of attorneys’ fees that will result from prolonged litigation.

            To that end, to settle her claims for unpaid overtime based on our calculations (Counts I
    and II of the Complaint), the Companies are willing to offer Ms. Larson the alleged liquidated
    damages she is owed ($3,625.57), offset by the balance of the overpayment already made to
    Ms. Larson ($803.99), for a total amount of $2,821.58 and your reasonable attorney’s fees, in
    accordance with a court supervised settlement. Regarding Ms. Larson’s retaliation claim
    Defendants are willing to offer two months of back pay, based on her average hours worked in the
    month prior to her resignation from True Select (i.e., 131 hours during the month of October 2021),
    for a total amount of $3,406.00 (131 hours x 2 months x $13.00/hr.).
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         A. The Companies’ Offer of Full Recovery Resolves Ms. Larson’s Overtime Claims
            under the FLSA and VOWA.

         With respect to Ms. Larson’s overtime claims, if Ms. Larson’s claims were to proceed to
litigation, we are confident the court would exercise its discretion to deny an award of liquidated
damages. 1 Nevertheless, my client is willing to tender full payment for the remaining liquidated
damages allegedly owed to her, 2 in addition to an amount for your reasonable attorneys’ fees. In
doing so, her individual claims are mooted. See, e.g., Kuntze v. Josh Enterprises, Inc., 365 F.
Supp. 3d 630, 642, 2019 WL 959598 (E.D. Va. 2019) (concluding that when an individual plaintiff
receives complete relief for her claims, that plaintiff no longer has a live case or controversy). 3

         B. Ms. Larson Cannot Establish a Prima Facie Case of Retaliation.

        Ms. Larson’s retaliation claim is likewise weak for the reasons set forth below. As you
know, a plaintiff asserting a claim of retaliation under the FLSA must show that: (1) she engaged
in an activity protected by the FLSA; (2) she suffered adverse action by the employer subsequent
to or contemporaneous with such protected activity; and (3) a causal connection exists between
the employee’s activity and the employer’s adverse action.” See Schmidt v. Bartech Grp., Inc.,
620 F. App’x 153, 155 (4th Cir. 2015).
        First, to be considered statutorily protected activity, an oral complaint must provide fair
notice to the employer that the employee believes the FLSA has been violated. See Minor v.
Bostwick Labs., Inc., 669 F.3d 428, 439 (4th Cir. 2012). That is, an employee complaint must
have “some degree of formality” and must be “sufficiently clear and detailed for a reasonable
employer to understand it, in light of both content and context, as an assertion of rights protected
by the statute and a call for their protection.” Id. At no time prior to this lawsuit did Ms. Larson
explain to the Companies that she believed she was entitled to overtime for all hours worked across
both entities. Rather, on October 8, 2021, she stated only that she believed there was an error
regarding her rate of pay, and True Select immediately investigated the issue and corrected the
oversight.
       Second, Ms. Larson’s retaliation claim is factually flawed because Ms. Larson was not
terminated. Rather, when True Select tried to meet with Ms. Larson on November 1, 2021 to
discuss her concerns regarding her pay and to better understand her grievances, Ms. Larson: (1)

1
  “In its sound discretion, . . . a court may refuse to award liquidated damages if ‘the employer shows to the satisfaction
of the court that the act or omission giving rise to such action was in good faith and that he had reasonable grounds
for believing that his act or omission was not a violation of the [FLSA].’” Roy v. County of Lexington, South Carolina,
141 F.3d 533 (4th Cir. 1998). While an employer may not “remain blissfully ignorant of FLSA requirements,” the
Fourth Circuit has affirmed the denial of liquidated damages where employers had a reasonable, if simplistic,
understanding of the law; for example, where the employer simply relied on a motel trade publication for legal
compliance issues. See Burnley v. Short, 730 F.2d 136, 140 (4th Cir. 1984). Even assuming your client’s position
regarding the calculation of her overtime pay is correct, my client nonetheless believed that it met all applicable
requirements under the FLSA.
2
  As set out in my December 6, 2021, letter, Ms. Larson is already in receipt of Defendants’ backpay payment (plus
the overpayment made to Ms. Larson, which offsets a portion of the balance for liquidated damages).
3
  And, by extension, Defendants will oppose Plaintiff’s pending Motion for Conditional Certification on the grounds
it is mooted because Plaintiff is the sole representative of the alleged class.
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refused to discuss any of her concerns with management; (2) refused to take the checks which
were offered to her; and (3) stated that “you will hear from my lawyer” and stormed out of the
office and never returned.
         Moreover, to the extent Ms. Larson asserts management reduced her work shifts from two
days to one day her claim is likewise factually flawed. As your client is well aware, Ms. Larson
was not regularly scheduled to work two shifts a week for True Select. Rather, during the weekend
of September 25, 2021, Ms. Larson picked up an additional shift with Ms. Fox, the only client
Ms. Larson provided services for, as another caregiver was on vacation. The following week,
Ms. Larson refused to relinquish this additional shift, claiming to her supervisor that the client only
wanted her and wanted the other caregiver removed. See Exhibit A (Text Messages Between
W. Stanton and J. Larson dated 10/6/2021). Ms. Larson’s supervisor allowed Ms. Larson to work
this shift for the next few weekends as she investigated the situation, including speaking with the
caregiver and the client. The client confirmed that she did not request that Ms. Larson work both
shifts, and in fact, the client liked the other caregiver. The additional shift was thus returned to the
other caregiver, who was understandably upset by Ms. Larson’s misrepresentation.
        As you can see from the text messages, this occurred before Ms. Larson raised any
concerns about overtime compensation on October 8, 2021. Moreover, although Ms. Larson
consistently stated that she was not interested in providing caregiving services and working for
other clients (see Exhibit B, Text Messages Between W. Stanton and J. Larson dated 8/30/2021),
on October 27, 2021, management once again offered that Ms. Larson could work with additional
clients. See Exhibit C (Text Messages Between W. Stanton and J. Larson dated 10/27/2021). Not
only did Ms. Larson decline management’s offer, but in response to being asked to attend a
meeting on October 29, 2021, Ms. Larson voluntarily declined to work her scheduled shifts that
weekend. Clearly these facts undermine her retaliation claims.
        Again, we believe that settlement is in the best interest of all parties. Please let me know
your client’s response to the offer set forth above. I look forward to hearing from you.


                                              Very truly yours,



                                               Steven W. Ray
                                               Counsel for Defendants


Enclosures a/s
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                       EXHIBIT A
  TEXT MESSAGES BETWEEN W. STANTON
     AND J. LARSON DATED 10/6/2021
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                       EXHIBIT B
  TEXT MESSAGES BETWEEN W. STANTON
     AND J. LARSON DATED 8/30/2021
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                       EXHIBIT C
  TEXT MESSAGES BETWEEN W. STANTON
     AND J. LARSON DATED 10/27/2021
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